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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                                  No. 11-20178
              Plaintiff,
                                                  District Judge Patrick J. Duggan
vs.
                                                  Magistrate Judge R. Steven Whalen
DARRELL RASHARD EWING,

              Defendant.
                                       /

                                OPINION AND ORDER

       Before the Court is Defendant Darrell Ewing’s post-conviction motion for

discovery [Doc. #268], which has been referred for hearing and determination pursuant to

28 U.S.C. § 636(b)(1)(A). For the reasons discussed below, the motion will be DENIED.

               I.   FACTUAL AND PROCEDURAL BACKGROUND

       Following his guilty plea to the charge of Conspiracy to Possess with Intent to

Distribute and to Distribute Controlled Substances, 21 U.S.C. §§ 846, 841, Defendant

was sentenced to 180 months incarceration, to be followed by three years supervised

release. Although there was an appeal waiver provision in his plea agreement, Defendant

filed a notice of appeal. While the appeal was pending, Defendant filed the present

motion, requesting production of statements taken by F.B.I. agents and Task Force agents

with regard to a homicide case (the “J.B. Watson homicide”) in Wayne County Circuit

Court. In that case, a jury had convicted Defendant of first-degree murder, resulting in a


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state sentence of non-parolable life imprisonment.

       Defendant had first raised the issue of information about the homicide case at his

sentencing in this case, indicating that it might be useful for the appeal of his murder

conviction. He premises this motion on Rule 16 of the Federal Rules of Criminal

Procedure and on the Due Process Clause.

       Following argument on this motion, the Court directed supplemental briefing,

including argument on the issue of whether the Court has jurisdiction under United States

ex rel Touhy v. Ragan, 340 U.S. 462 (1951), to order discovery of documents in the

possession of F.B.I. agents.

       On August 29, 2013, the Michigan Court of Appeals affirmed Defendant’s murder

conviction in an unpublished per curiam opinion. People v. Ewing, Mich. Ct.App. No.

301751. One of Defendant’s arguments on appeal was that he was entitled to a new trial,

or at least an evidentiary hearing regarding newly discovered evidence, based on an

affidavit of one Tyree Washington, who stated that he, Washington, murdered J.B.

Watson, and that Defendant and his co-defendant Derrico Searcy were not present at the

crime. However, the Court of Appeals rejected that argument, finding that the evidence

was not “newly discovered,” and that Washington’s alleged role in the offense and his

inculpatory statements to federal agents were known to, and actually used by defense

counsel at the murder trial. The Court of Appeals held as follows:

       “In this instance, Washington’s assertion that he was the perpetrator of this
       crime is not newly discovered. Extensive testimony was elicited at trial
       from Christopher Richardson and La Joia Stevenson indicating

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       Washington’s assertions of guilt for the death of Watson. Defense counsel
       was informed by the prosecutor that Washington was in federal custody and
       had implicated himself in this murder. Defense counsel was clearly aware
       of Washington’s proposed testimony at the time of trial and the information
       was used, in part, to buttress Ewing’s alibi defense that he was elsewhere at
       the time of the homicide. As such, it cannot be construed as newly
       discovered.”1

       On November 26, 2013, the Sixth Circuit affirmed Defendant’s conviction,

holding that the guilty plea was knowing and voluntary, and the sentence did not exceed

the sentencing ranged agree to in the Rule 11 plea agreement. Hence, the Defendant was

subject to the plea-waiver provision of the plea agreement. See Doc. #335.

                                    II.    DISCUSSION

                                          A.   Rule 16

       Fed.R.Crim.P. 16 is the principal mechanism for discovery in federal criminal

cases. Upon request, Rule 16 requires the government to “permit the defendant to inspect

and to copy or photograph books, papers, documents, data, photographs, tangible objects,

buildings or places, or copies or portions of any of these items.” Fed.R.Crim.P.

16(a)(1)(E). But this obligation does not arise unless “the item is within the government's

possession, custody, or control and: (i) the item is material to preparing the defense; (ii)

the government intends to use the item in its case-in-chief at trial; or (iii) the item was

obtained from or belongs to the defendant.” Id (emphasis added). See also U.S. v. U.S.

Dist. Court for Eastern Dist. of Mich., Southern Div., 444 F.2d 651, 674 (6th Cir.


       1
       Christopher Richardson, who testified at the homicide trial, is one of the agents
from whom Defendant seeks discovery.

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1971)(“Rule 16 of the Federal Rules of Criminal Procedure relating to pretrial discovery

permits discovery only of evidence which is relevant and material.”).

       Apart from the question of whether Rule 16 entitles the Defendant to post-plea and

post-sentencing discovery2, information as to his state homicide case has no relevance to

the drug charge to which he pled guilty. Nor, given the plea, does the government intend

to use the evidence in its case-in-chief. Defendant has no entitlement to this information

under Rule 16.3



                           B.    Jurisdiction / Touhy Hearing



       2
        See Hawkes v. Internal Revenue Service, 467 F.2d 787, 793 (6th Cir. 1972), where
the Court, refusing to allow discovery for a convicted defendant, stated, “It seems clear
that now, months after that sentence was pronounced, the discovery process, designed to
help a defendant prepare for trial, is unavailable....” (Citing United States v. Kessler, 253
F.2d 290, 292 (2nd Cir. 1958)).
       3
         Nor would Defendant be entitled to the documents under Fed.R.Crim.P. 17,
which provides for subpoenas directed to third parties in criminal cases. Rule 17 also
requires that the subpoenaed evidence be relevant to the charged offense. In United States
v. Llanez-Garcia, 735 F.3d 483, 493 -494 (6th Cir. 2013), the Court held as follows:

       “To contain the danger that criminal defendants might misuse Rule 17(c) to
       expand the scope of discovery, the Court in United States v. Nixon held that
       a defendant could subpoena materials using a Rule 17(c) subpoena only if
       four conditions are met. 418 U.S. 683, 699, 94 S.Ct. 3090, 41 L.Ed.2d 1039
       (1974). First, the items must be evidentiary and relevant. Id. Second, the
       items may not be otherwise procurable through due diligence prior to trial.
       Id. Third, the requesting party must be unable to properly prepare for trial
       without such pre-trial production and inspection. Id. And, finally, the
       application must be made in good faith and not amount to a “fishing
       expedition.” Id. (Emphasis added).

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       In United States ex rel Touhy v. Ragan, 340 U.S. 462 (1951), the Supreme Court

upheld a Department of Justice (“DOJ”) regulation prohibiting its employees from

responding to a subpoena absent permission from superiors. “Touhy is part of an

unbroken line of authority which directly supports [the] contention that a federal

employee may not be compelled to obey a subpoena contrary to his federal employer’s

instructions under valid agency regulations.” Boron Oil Company v. Downie, 873 F.2d

67, 69 (4th Cir. 1989). The DOJ regulations pertinent to this case are found at 28 C.F.R.

§§ 16.21-29. Section 16.22 prohibits a DOJ employee from responding to a document

subpoena “without prior approval of the proper Department official in accordance with

§§ 16.24 and 16.25.” Under the Regulations, the decision to authorize disclosure is

entrusted to the United States Attorney.

       In fact, the Touhy procedure was invoked in the state homicide case, and a number

of documents were produced prior to trial relative to Tyree Washington’s confession to

the homicide. Defendant’s counsel had the opportunity to interview F.B.I. Agent Allen

and Task Force Officer Herzoz, both of whom were made available to testify at trial.

Agent Richardson was also interviewed, and reports of interviews with Washington were

produced. Richardson also testified at trial, as set forth in the Court of Appeals opinion

affirming Defendant’s murder conviction.

       Counsel for state court co-defendant Searcy indicated that he had interviewed one

Adrienne Allen-Jackson, who stated that she was present with Washington and William

Beal at the time of the murder, and that Searcy and Defendant were not present.

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However, although she was subpoenaed, Allen-Jackson failed to appear at trial. After

trial, counsel for Defendant sought F.B.I. reports of interviews with Allen-Jackson. That

request was denied.4

       It appears that in the course of the state court proceedings, Defendant obtained

much, but not all of the Touhy material he seeks in the present motion. However, to the

extent that he seeks additional material, such as information regarding F.B.I. interviews

with Allen-Jackson, this unrelated federal criminal case is not the proper vehicle to obtain

production. Rather, “the Administrative Procedure Act provides an appropriate procedure

for judicial review of a decision by a federal agency to withhold investigation materials

from a state criminal defendant, in which the state criminal defendant can proffer any

perceived rights to the file materials under the constitutional principles set forth in Brady

and its progeny.” Kasi v. Angelone, 300 F.3d 487, 506 (4th Cir. 2002), citing United

States v. Williams, 170 F.3d 431, 434 (4th Cr. 1999)(“[t]he proper method for judicial

review of the agency's final decision pursuant to its regulations is through the

Administrative Procedure Act (‘APA’).”). See also United States. v. Threet, 2011 WL

5865076, *1 -2 (E.D.Mich. 2011)(Ludington, J.)(“[I]f Defendant is dissatisfied with the

DEA's response to his Touhy request, his remedy is an action against the DEA pursuant to

the Administrative Procedures Act, and not pursuant to a motion to compel.”)(citing Boeh

v. Gates, 25 F.3d 761, 763–767 (9th Cir.1994)); Taylor v. Countrywide Home Loans,


       4
      Exhibits A through P of the government’s supplemental brief (filed under seal)
document the Touhy requests and responses in the state court homicide case [Doc. #106].

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2009 WL 1913417, *6 (E.D.Mich. 2009)(Hluchaniak, M.J.)(“Administrative Procedures

Act (APA) provides the sole avenue for review of an agency's refusal to permit its

employees to comply with subpoenas”); Chen v. Ho, 368 F.Supp.2d 97, 98 (D.D.C.2005)

(“when a federal agency, pursuant to so-called Touhy regulations, prohibits its employees

from responding to a subpoena ad testificandum without agency approval and declines to

grant that approval in a given case, the requesting party must then proceed under the

APA, and a federal court will review the agency's decision under an ‘arbitrary and

capricious' standard.”).

         Therefore, in the context of the present federal criminal case, this Court does not

have jurisdiction to review Defendant’s challenge to the government’s refusal to comply

with his Touhy request. Rather than bringing a criminal discovery motion in an unrelated

federal case, Defendant’s remedy lies within the Administrative Procedures Act, 5 U.S.C.

§ 702.

                                    III.   CONCLUSION

         Accordingly, Defendant’s motion for discovery [Doc. #268] is DENIED.

         IT IS SO ORDERED.


Dated: January 3, 2014                      s/R. Steven Whalen
                                            R. STEVEN WHALEN
                                            UNITED STATES MAGISTRATE JUDGE




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I hereby certify that a copy of the foregoing document was sent to parties of record on
January 3, 2014, electronically and/or by U.S. mail.

                                          s/Michael Williams
                                          Case Manager to the
                                          Honorable R. Steven Whalen




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